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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

PRINCETON DIGITAL IMAGE
CORPORATION,

            Plaintiff,

     v.                                     \
                                                C.A. No. 13-239-LPS

OFFICE DEPOT INC.,

            Defendant.

PRINCETON DIGITAL IMAGE
CORPORATION,

            Plaintiff,

     v.                                         C.A. No. 13-287-LPS

J.C. PENNEY COMPANY;INC.,

            Defendant.

PRINCETON DIGITAL IMAGE
CORPORATION,

            Plaintiff,

     v.                                         C.A. No. 13-288-LPS

QVC INC.,

            Defendant.

PRINCETON DIGITAL IMAGE
CORPORATION,

            Plaintiff,

     v.                                         C.A. No. 13-289-LPS

SEARS HOLDINGS COMPANY,

            Defendant.
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PRINCETON DIGITAL IMAGE
CORPORATION,

            Plaintiff,

      v.                                       C.A. No. 13-326-LPS

LIMITED BRANDS, INC.,

            Defendant.

PRINCETON DIGITAL IMAGE
CORPORATION,

            Plaintiff,

      v.                                       C.A. No. 13-330-LPS

GAP INC.,

            Defendant. _

PRINCETON DIGITAL IMAGE
CORPORATION,

            Plaintiff,

      v.                                       C.A. No. 13-331-LPS

WILLIAMS-SONOMA INC.,

            Defendant.

PRINCETON DIGITAL IMAGE
CORPORATION,

            Plaintiff,

      v.                                       C.A. No. 13-404-LPS

COSTCO WHOLESALE CORP.,

            Defendant.
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 PRINCETON DIGITAL IMAGE
 CORPORATION,

                  Plaintiff,

            v.                                               C.A. No. 13-408-LPS

 NORDSTROM.COM LLC,
 NORDSTROM.COM INC., and NORDSTROM
 INC.

                  Defendants.

                                   MEMORANDUM ORDER

        Having reviewed the parties' filings regarding their proposed final judgments (C.A. 13-

239-LPS D.I. 275, 276, 277, 278), 1

        IT IS HEREBY ORDERED that:

         1.      Adobe Systems Incorporated's ("Adobe") motion for entry of final judgment

(C.A.   13-239~LPS   D.I. 275; C.A. No. 13-287-LPS D.I. 275; C.A. No. 13-288-LPS D.I. 275; C.A.

No. 13-289-LPS D.I. 274; C.A. No. 13-326-LPS D.I. 272; C.A. No. 13-330-LPS D.I. 272; C.A.

No. 13-331-LPS D.I. 274; C.A. No. 13-404-LPS D.I. 273; C.A. No. 13-408-LPS D.I. 290) is

GRANTED IN PART, as the Court will enter an order of final judgment consistent with the

Court's rulings and the events during trial. The. Court will NOT adopt Adobe's proposed final

judgment, as the Court has found and stated that the record demonstrates that Adobe could prove

some amount of purely defense fees.

        2.       The Court will ADOPT the second final judgment proposed by Princeton Digital

Image Corporation ("PDIC"). (D.I. 278) The Court sets out the following procedural history to


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         All references to the Docket Index are to C.A. No. 13-239, unless otherwise noted.

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provide accurate context for the final judgment. See In re Cendant Corp. Sec. Litig., 454 F .3d

235, 243 (3d Cir. 2006).

       3.      On August 1, 2017, the Court granted in part and denied in part PDIC's motion

for summary judgment on Adobe's breach of contract claim, concluding in pertinent part as

follows:

               [T]he Court agrees with PDIC that Adobe cannot collect as
               damages for the breach of contract any attorney fees Adobe
               incurred in the affirmative breach-of-contract suit. ...

                       However, the defense fees -that is, those Adobe incurred
               in defending [third-party] Defendants [i.e., Adobe customers] from
               PDIC's infringement suit, suits that were brought in alleged
               violation of the covenant not to sue - are the type of fees that may
               be awarded as damages. Adobe's legal costs in defending its
               customers are a proper measure of the harm to Adobe caused by
               PDIC's alleged breach.



                       Nor is the Court persuaded that Adobe cannot disaggregate
               its defense fees from its affirmative fees. . . . By separate order, the
               Court will direct Adobe to serve a supplemental expert report
               relating to the revised.amount of damages Adobe is seeking in light
               of today's rulings.

(D.I. 220 at 13-14)

       4.      By Order entered the same date, the Court directed that "Adobe shall serve on

PDIC a supplemental expert report relatl.ng to the amount of damages it is seeking, in light of

today's rulings," by no later than August 7. (D.I. 221   at~   4)

       5.      On August 7, 2017, Adobe served on PDIC a supplemental expert report relating

to damages. (D.I. 230)

       6.      On August 9, 2017, PDIC filed an "Emergency Renewed Motion for Summary


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Judgment." (D.I. 234)

       7.      On August 10, 2017, the Court held a pretrial conference, relating to a jury trial

scheduled to begin on August 21, 201 7, and directed the parties to (among other things) brief a

motion to strike Adobe's new expert report and brief"whether under [governing] New Jersey law

attorney fees that are incurred in a way that is inextricably intertwined between affirmative and

defense costs are recoverable." (Tr. at 72-73)

       8.      On August 17, 2017, after receiving the required briefing, the Court struck

Adobe's supplemental expert report as non-compliant with the Court's previous Order, as it

"does not separate Adobe's defense fees from its affirmative fees" (D.I. 260 at 4-6), and further

held that under New Jersey law Adobe could not recover defensive attorney fees that were

inextricably intertwined with affirmative fees (id. at 7-8).

       9.      In the same August 17, 2017 Order, the Court nonetheless denied PDIC's motion

for summary judgment, as even after striking the supplemental expert report "[t]here is sufficient

evidence of record of Adobe's purely defensive fees, including Adobe's billing records, on which

a reasonable juror could find that Adobe has proven the damages element of its breach-of-

contract claim." (Id. at 8-9)

       10.     In the same August 17, 2017 Order, the Court gave Adobe an additional

opportunity to "file a letter with the Court, copying PDIC, (i) disclosing the total amount (in

dollars) of defense fees   Ado~e   is seeking as breach-of-contract damages (i.e., only those fees that

Adobe incurred i~ defending its customers in the infringement suits and no fees associated with

Adobe's breach-of-contract claim; defense fees that are 'inextricably intertwined' with

affirmative fees are not recoverable), and (ii) identifying with particularity the record bases (e.g.,


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the specific legal bills) on which Adobe intends to rely to support its calculation of the amount of

damages it is seeking." (Id. at 9-10)

       11.     On August 19, 2017, Adobe submitted a letter to the Court disclosing its damages.

(D.I. 270)

       12.     On the morning of August 21, 2017, on the first day of trial, out of the presence of

potential jurors but while the jury pool was assembled in the courthouse waiting to be selected,

the Court concluded that Adobe's August 19 damages submission did not disclose a purely

defensive fee number. (D.I. 276-1 at 46)

       13.     Despite Adobe's noncompliance, the Court declined to grant summary judgment

on damages, for reasons including that, as the Court stated, it was "undisputed that some amount

of Adobe's legal fees are purely defensive in the manner the Court has defined them," so "a

reasonable juror could find that Adobe has proven some damages." (Id.)

       14.     The Court further ruled that "Adobe will be permitted to present a purely

defensive number to the jury provided that it discloses that.number to PDIC before we get to

opening statements." (Id.)

       15.     After further discussion with counsel and a recess, Adobe - contending that, given

the Court's rulings, "Adobe doesn't have damages to present" - requested that, in light of the

Court's rulings, the Court not select a jury but, instead, cancel trial and enter judgment in favor

of PDIC. (Id. at 67)

       16.     PDIC did not object to Adobe's request but stated it believed Adobe "still could

have put on a damage case." (Id. at 70)

       17.     The Court then restated its view "that there are purely defensive damages that can


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be proven on this record," but added that it was not "in a position to force Adobe" to go to trial

and, therefore, agreed to proceed as Adobe requested. (Id. at 70-71)

       18.     The parties were unable to agree to a form of judgment the Court could enter (see

D.I. 275, 276, 277, 278), and the Court has concluded that adopting PDIC's second proposed

form of order (D.I. 278), in conjunction with the context provided by this memorandum, is

appropriate.

       IT IS FURTHER ORDERED that, for the reasons stated in Court during trial, Adobe's

motion for sanctions (C.A. 13-239-LPS D.I. 261; C.A. No. 13-287-LPS D.I. 261; C.A. No.

13-288-LPS D.I. 261; C.A. No. 13-289-LPS D.I. 260; C.A. No. 13-326-LPS D.I. 258; C.A. No.

13-330-LPS D.I. 258; C.A. No. 13-331-LPS D.I. 260; C.A. No. 13-404-LPS D.I. 259; C.A. No.

13-408-LPS D.I. 276) is DENIED WITHOUT PREJUDICE.




August 25, 2017                                       HON. LE NARD P. STARK
Wilmington, DE                                        UNITED STATES DISTRICT JUDGE




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